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                           Exhibit 18
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    Via E-Mail

    John M. Hogan
    Technology and Financial Services Section
    U.S. Department of Justice
    450 5th St. NW
    Washington, DC 20530



                                                        January 28, 2021

           Re:    Civil Investigative Demand 30471-- Preservation and Production of
                  Electronically Stored Information

    Dear John,

            On behalf of Alphabet, Inc. (“Company”), we respond to your letter dated December 23,
    2020 regarding the preservation and production of electronically stored information (ESI). Since
    the Division first issued CIDs in fall 2019, the Company’s outside counsel have explained the
    Company’s preservation and production policies at several points in discussions with the
    Division, including in the Company’s November 20, 2019 detailed response to the ESI
    Questionnaire. The Company is cognizant of its preservation obligations and confirms that it has
    preserved potentially responsive documents and other materials to the CID. In response to the
    specific items listed in your letter, we can provide the following information:

       (1) The dates when employees received instructions to preserve such materials: The
           Group A, B and C custodians received instructions around the time they were negotiated
           by the Company and the Division.
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       (2) Any steps taken by the Company to protect or preserve any employee’s potentially
           responsive materials in the event a device is lost, stolen, upgraded, or otherwise
           unavailable: The Company uses G Suite applications (Google Docs, Google Sheets, etc.)
           for general business purposes. The same G Suite applications are used on mobile devices
           and computers. G Suite documents are held in the cloud and the loss of a mobile device
           does not affect their status.

       (3) For any such individual no longer employed by the Company, the steps taken by the
           Company to preserve any potentially responsive materials following separation:
           Any employee on a legal hold remains on one after leaving the Company. All Google-
           owned devices are returned and preserved.

       (4) Any steps taken by the Company to ensure employees comply with the preservation
           notice, including whether employees properly preserve responsive conversations
           from chats, instant messages, text messages, and other Messaging Applications as
           “on the record.”: The preservation notice instructs employees to retain all responsive
           information, whether that information is on Google applications like G Suite or third-
           party apps. For chats, employees are instructed to keep all potentially responsive
           conversations as “on the record,” and are sent a reminder approximately every six
           months. Relevant “on the record” chats have been collected and produced as part of the
           Company’s document productions.

             The Company has already produced responsive information from Collaborative Work
    Environments (G Suite applications) and chats. Due to the Covid-19 pandemic, the Company is
    currently unable to gather mobile devices for collection of text messages. Once employees are
    back in offices (currently slated to be September 2021, which is subject to change based on
    public health conditions), the Company plans to collect, review and produce responsive material
    as soon as practicable. The Company expects to be able to produce material from text messages
    later in 2021.

                                     *              *              *

            The Company requests confidential treatment of these materials to the fullest extent
    allowed by law, including the Antitrust Civil Process Act, 15 U.S.C. § 1311 et seq., Exemption 4
    of the Freedom of Information Act, as well as all other applicable statutes, regulations, and
    customary confidentiality policies. The Company specifically requests advance notice before
    disclosure of any of these materials to any person and return or destruction of materials when the
    Department's investigation is completed.
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    Please do not hesitate to contact me with any questions.


                                                         Sincerely yours,




                                                         /s/Julie Elmer
